Case 2:10-md-02179-CJB-DPC Document 8963-18 Filed 03/20/13 Page 1 of 3




                   Exhibit 10A
         Case 2:10-md-02179-CJB-DPC Document 8963-18 Filed 03/20/13 Page 2 of 3


Douglas, Charles W
Attachments:          image001.png; ATT00001.htm; Panel Referral - Matching of Revenue & Expenses.pdf;
                      ATT00002.htm


From: "Patrick Juneau" <pjuneau@dheclaims.com<mailto:pjuneau@dheclaims.com>>
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Cc: "'Magistrate Sally Shushan
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Subject: DWH - Referral of Issue from Panel (Matching of Revenue and Expenses)

Dear Judge Barbier:

The Parties have encountered an issue concerning implementation of the Settlement Agreement
on which unanimous panel agreement could not be reached, and referral of that issue to the
Court has been requested.

Attached you will find the following:

(1)    Input of Class Counsel on this issue.
(2)    Input of BP on this issue.
(3)    Supplemental input of BP on this issue.
(4)    Email of Claims Administrator to the Parties with attached position of Claims
Administrator.

We understand that the Parties will coordinate directly with the Court with regard to a
schedule for additional submissions prior to the Court hearing on this issue.

This matter is set to be heard by the Court at 1:30 pm on Thursday, January 24, 2013.


[Signature - Pat]

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        Case 2:10-md-02179-CJB-DPC Document 8963-18 Filed 03/20/13 Page 3 of 3




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